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         EXHIBIT 9
4/19/2020                                        CM/ECF
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                          UNITED STATES DISTRICT COURT
             CENTRAL DISTRICT OF CALIFORNIA (Western Division - Los Angeles)
                       CIVIL DOCKET FOR CASE #: 2:20-cv-03570


 CARIBE RESTAURANT & NIGHTCLUB, INC. v. TOPA                                         Date Filed: 04/17/2020
 Insurance Company                                                                   Jury Demand: Plaintiff
 Assigned to:                                                                        Nature of Suit: 110 Insurance
 Demand: $5,000,000                                                                  Jurisdiction: Diversity
 Cause: 28:1332 Diversity-Breach of Contract
 Plaintiff
 CARIBE RESTAURANT &                                                  represented by Christopher Moze Cowper
 NIGHTCLUB, INC.                                                                     Cowper Law LLP
                                                                                     10880 Wilshire Boulevard Suite 1840
                                                                                     Los Angeles, CA 90024
                                                                                     877-529-3707
                                                                                     Fax: 877-284-0980
                                                                                     Email: mcowper@cowperlaw.com
                                                                                     ATTORNEY TO BE NOTICED


 V.
 Defendant
 TOPA Insurance Company


  Date Filed            # Docket Text
  04/17/2020           1 COMPLAINT Receipt No: ACACDC-26128270 - Fee: $400, filed by Plaintiff CARIBE
                         RESTAURANT & NIGHTCLUB, INC.. (Attachments: # 1 Civil Cover Sheet) (Attorney
                         Christopher Moze Cowper added to party CARIBE RESTAURANT & NIGHTCLUB, INC.
                         (pty:pla))(Cowper, Christopher) (Entered: 04/17/2020)
  04/17/2020           2 Request for Clerk to Issue Summons on Complaint (Attorney Civil Case Opening), 1 filed
                         by Plaintiff CARIBE RESTAURANT & NIGHTCLUB, INC.. (Cowper, Christopher)
                         (Entered: 04/17/2020)
  04/17/2020           3 CIVIL COVER SHEET filed by Plaintiff CARIBE RESTAURANT & NIGHTCLUB, INC..
                         (Cowper, Christopher) (Entered: 04/17/2020)
  04/17/2020           4 CORPORATE DISCLOSURE STATEMENT filed by Plaintiff CARIBE RESTAURANT &
                         NIGHTCLUB, INC. (Cowper, Christopher) (Entered: 04/17/2020)
  04/17/2020           5 First NOTICE of Appearance filed by attorney Christopher Moze Cowper on behalf of
                         Plaintiff CARIBE RESTAURANT & NIGHTCLUB, INC. (Cowper, Christopher) (Entered:
                         04/17/2020)
  04/17/2020           6 CERTIFICATE of Interested Parties filed by Plaintiff CARIBE RESTAURANT &
                         NIGHTCLUB, INC., (Cowper, Christopher) (Entered: 04/17/2020)
https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?702825149242187-L_1_0-1                                                      1/2
4/19/2020               Case MDL No. 2942 Document    CM/ECF - California
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  04/17/2020           7 EXHIBIT Filed filed by Plaintiff CARIBE RESTAURANT & NIGHTCLUB, INC.. Exhibit
                         A as to Complaint (Attorney Civil Case Opening), 1 . (Cowper, Christopher) (Entered:
                         04/17/2020)



                                                        PACER Service Center
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 1   C. Moze Cowper (Bar No. 326614)         Adam J. Levitt*
 2   Noel E. Garcia (Bar No. 326831)         DICELLO LEVITT GUTZLER LLC
     COWPER LAW PC                           Ten North Dearborn Street, Sixth Floor
 3   10880 Wilshire Boulevard, Suite 1840    Chicago, Illinois 60602
 4   Los Angeles, California 90024           Telephone: 312-214-7900
     Telephone: 877-529-3707                 alevitt@dicellolevitt.com
 5   mcowper@cowperlaw.com
 6   ngarcia@cowperlaw.com
 7   Mark Lanier*
 8   THE LANIER LAW FIRM PC
     10940 West Sam Houston Parkway
 9   North
10   Suite 100
     Houston, Texas 77064
11   Telephone: 713-659-5200                 *Applications for admission pro hac
12   WML@lanierlawfirm.com                   vice to be filed
13
   Counsel for Plaintiff and the Proposed Classes (additional counsel appear on
14 signature page)

15                        UNITED STATES DISTRICT COURT
16                       CENTRAL DISTRICT OF CALIFORNIA
                               WESTERN DIVISION
17
     CARIBE RESTAURANT &                )     Case No. 20-3570
18                                      )
     NIGHTCLUB, INC.,                   )
19   individually and on behalf of      )
     all others similarly situated,     )
20                                      )    CLASS ACTION COMPLAINT
                                        )    FOR:
21          Plaintiff,                  )
                                        )    (1) BREACH OF CONTRACT; and
22                                      )
     v.                                      (2) DECLARATORY JUDGMENT
                                        )
23                                      )
     TOPA INSURANCE                     )
24                                      )
     COMPANY,                           )    DEMAND FOR JURY TRIAL
25                                      )
            Defendant                   )
26                                      )
                                        )
27                                      )
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 1        Plaintiff Caribe Restaurant & Nightclub, Inc. (d/b/a Laz Luz Ultralounge)
 2 (“Caribe”), individually and on behalf of the other members of the below-defined

 3 nationwide classes (collectively, the “Class”), brings this class action against

 4 Defendant Topa Insurance Company (“Topa”), and in support thereof states the

 5 following:

 6                         I.     NATURE OF THE ACTION
 7        1.     Plaintiff Caribe owns and operates La Luz Ultralounge (“La Luz”), a
 8 restaurant and nightclub, located in Bonita, California. La Luz has served the San
 9 Diego community since 2004.         It’s existence, however, is now threatened by
10 COVID-19 (a.k.a. the “coronavirus” or “SARS-CoV-2”).

11        2.     To protect its businesses in the event that it suddenly had to suspend
12 operations for reasons outside of its control, or if it had to act in order to prevent

13 further property damage, Plaintiff purchased insurance coverage from Topa,

14 including special property coverage, as set forth in Topa’s Businessowner’s

15 Business Income (and Extra Expense) Coverage Form (Form CP 00 30 10 02)

16 (“Special Property Coverage Form”).

17        3.     Topa’s Special Property Coverage Form provides “Business Income”
18 coverage, which promises to pay for loss due to the necessary suspension of

19 operations following loss to property.

20        4.     Topa’s Special Property Coverage Form also provides “Civil
21 Authority” coverage, which promises to pay for loss caused by the action of a civil

22 authority that prohibits access to the insured premises.

23        5.     Topa’s Special Property Coverage Form also provides “Extra Expense”
24 coverage, which promises to pay the expense incurred to minimize the suspension

25 of business and to continue operations.

26        6.     Topa’s Special Property Coverage Form, under a section entitled
27 “Duties in the Event of Loss” mandates that Topa’s insured “must see that the

28 following are done in the event of loss. . . [t]ake all reasonable steps to protect the

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 1 Covered Property from further damage and keep a record of your expenses necessary

 2 to protect the Covered Property, for consideration in the settlement of the claim.”

 3 This is commonly referred to as “Sue and Labor” coverage.

 4        7.     Unlike many policies that provide Business Income coverage (also
 5 referred to as “business interruption” coverage), Topa’s Special Property Coverage

 6 Form does not include, and is not subject to, any exclusion for losses caused by the

 7 spread of viruses or communicable diseases.

 8        8.     Plaintiff was forced to suspend or reduce business at La Luz due to
 9 COVID-19 and the resultant closure orders issued by civil authorities in California.

10        9.     Upon information and belief, Topa has, on a widescale and uniform
11 basis, refused to pay its insureds under its Business Income, Civil Authority, Extra

12 Expense, and Sue and Labor coverages for losses suffered due to COVID-19, any

13 orders by civil authorities that have required the necessary suspension of business,

14 and any efforts to prevent further property damage or to minimize the suspension of

15 business and continue operations. Indeed, Topa has denied Plaintiff’s claim under

16 its Topa policy.

17                        II.   JURISDICTION AND VENUE
18        10.    This Court has jurisdiction over this action pursuant to 28 U.S.C. §
19 1332, because Defendant and at least one member of the Class are citizens of

20 different states and because: (a) the Class consists of at least 100 members; (b) the

21 amount in controversy exceeds $5,000,000 exclusive of interest and costs; and (c)

22 no relevant exceptions apply to this claim.

23        11.    Venue is proper in this District under 28 U.S.C. § 1391, because
24 Defendant resides in this District and a substantial portion of the acts and conduct

25 giving rise to the claims occurred within the District.

26

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 1                                   III.     THE PARTIES
 2 Plaintiff

 3         12.    Plaintiff Caribe is a California corporation, with its principal place of
 4 business in Bonita, California.          Caribe owns and operates La Luz nightclub in
 5 Bonita.

 6 Defendant

 7         13.    Defendant Topa is an insurance company organized under the laws of
 8 the State of California, with its principal place of business in Calabasas, California.
 9 It is authorized to write, sell, and issue insurance policies providing property and

10 business income coverage in California.             At all times material hereto, Topa
11 conducted and transacted business through the selling and issuing of insurance

12 policies within California, including, but not limited to, selling and issuing property

13 coverage to Plaintiff.

14                           IV.    FACTUAL BACKGROUND
15 A.      The Special Property Coverage Form
16         14.    In return for the payment of a premium, Topa issued Policy No. PC-
17 6606802 to Plaintiff for a policy period of May 18, 2019 to May 18, 2020, including

18 a Businessowners Special Property Coverage Form. Policy No. PC-6606802 is

19 attached hereto as Exhibit A. Plaintiff has performed all of its obligations under

20 Policy No. PC-6606802, including the payment of premiums.                    The Covered
21 Property, with respect to the Special Property Coverage Form, is the La Luz

22 Ultralounge at 5080 Bonita Road, Bonita, California 91902.

23         15.    In many parts of the world, property insurance is sold on a specific peril
24 basis. Such policies cover a risk of loss if that risk of loss is specifically listed (e.g.,

25 hurricane, earthquake, H1N1, etc.). Most property policies sold in the United States,

26 however, including those sold by Topa, are all-risk property damage policies. These

27 types of policies cover all risks of loss except for risks that are expressly and

28 specifically excluded. In the Special Property Coverage Form provided to Plaintiff,

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 1 under the heading “Covered Causes of Loss,” Topa agreed to “pay for direct physical

 2 loss” to Covered Property “unless the loss is excluded or limited by” the policy.

 3        16.    In the policy, Topa did not exclude or limit coverage for losses from
 4 the spread of viruses. The policy only contains an exclusion for so-called “NBCR

 5 Activity,” defined as an act involving the use, alleged use, threatened use, or

 6 dissemination of a “Nuclear, Biological, Bio-Chemical, Chemical or Radioactive

 7 agent, substance, material, device or weapon.” This exclusion applies to intentional

 8 acts taken to cause the dissemination of biological weapons or agents (or acts taken
 9 to hinder such intentional acts), not the natural spread of a virus.

10        17.    Losses due to COVID-19 are a Covered Cause of Loss under Topa
11 policies with the Special Property Coverage Form.

12        18.    In the Special Property Coverage Form, Topa agreed to pay for its
13 insureds’ actual loss of Business Income sustained due to the necessary suspension

14 of its operations during the “period of restoration” caused by direct physical loss or

15 damage. A “slowdown or cessation” of business activities at the Covered Property

16 is a “suspension” under the policy, for which Topa agreed to pay for loss of Business

17 Income during the “period of restoration” that begins within 72 hours after the time

18 of direct physical loss or damage.

19        19.    “Business Income” means net income (or loss) before tax that Plaintiff
20 and the other Class members would have earned “if no physical loss or damage had

21 occurred” as well as continuing normal operating expenses incurred.

22        20.    The presence of virus or disease can constitute physical damage to
23 property, as the insurance industry has recognized since at least 2006.        When
24 preparing so-called “virus” exclusions to be placed in some policies, but not others,

25 the insurance industry drafting arm, ISO, circulated a statement to state insurance

26 regulators that included the following:

27               Disease-causing agents may render a product impure
                 (change its quality or substance), or enable the spread of
28               disease by their presence on interior building surfaces or
                 the surfaces of personal property. When disease-causing
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                 viral or bacterial contamination occurs, potential claims
 1               involve the cost of replacement of property (for example,
                 the milk), cost of decontamination (for example, interior
 2               building surfaces), and business interruption (time
                 element) losses. Although building and personal property
 3               could arguably become contaminated (often temporarily)
                 by such viruses and bacteria, the nature of the property
 4               itself would have a bearing on whether there is actual
                 property damage. An allegation of property damage may
 5               be a point of disagreement in a particular case.
 6        21.    In the Special Property Coverage Form, Topa also agreed to pay
 7 necessary Extra Expense that its insureds incur during the “period of restoration”

 8 that the insureds would not have incurred if there had been no direct physical loss or
 9 damage to the Covered Property.

10        22.    “Extra Expense” includes expenses to avoid or minimize the
11 suspension of business, continue operations, and to repair or replace property.

12        23.    Topa also agreed to “pay for the actual loss of Business Income” that
13 Plaintiff sustains “and any Extra Expense caused by action of civil authority that

14 prohibits access to” the Covered Property when a Covered Cause of Loss causes

15 damage to property near the Covered Property, the civil authority prohibits access

16 to property immediately surrounding the damaged property, the Covered Property is

17 within the prohibited area,, and the civil authority action is taken “in response to

18 dangerous physical conditions.”

19        24.    Topa’s Special Property Coverage Form, under a section entitled
20 “Duties in the Event of Loss” mandates that Topa’s insured “must see that the

21 following are done in the event of loss. . . [t]ake all reasonable steps to protect the

22 Covered Property from further damage and keep a record of your expenses necessary

23 to protect the Covered Property, for consideration in the settlement of the claim.”

24 This is commonly referred to as “Sue and Labor” coverage.

25        25.    Losses caused by COVID-19 and the related orders issued by local,
26 state, and federal authorities triggered the Business Income, Extra Expense, Civil

27 Authority, and Sue and Labor provisions of the Topa policy.

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 1 B.     The Covered Cause of Loss
 2        26.    The presence of COVID-19 has caused civil authorities throughout the
 3 country to issue orders requiring the suspension of business at a wide range of

 4 establishments, including civil authorities with jurisdiction over Plaintiff’s business

 5 (the “Closure Orders”).

 6        1.     The San Diego and California Closure Orders
 7        27.    On March 16, 2020, San Diego County issued a civil authority order
 8 requiring the closure of bars in San Diego County and banning dine-in eating in San
 9 Diego County. This order has been in effect since March 16, 2020 and is scheduled

10 to remain in effect through at least April 30, 2020.

11        28.    On March 19, 2020, the State of California issued a civil authority order
12 requiring the closure of bars in California and banning dine-in eating in California.

13 This order has been in effect since March 19, 2020 and is in effect until further

14 notice.

15        29.    The San Diego County and State of California Closure Orders were
16 issued in response to the rapid spread of COVID-19 throughout California.

17        30.    Violations of the San Diego County and State of California Closure
18 Orders are punishable by fine, imprisonment, or both.

19        2.     The Impact of COVID-19 and the Closure Orders
20        31.    The presence of COVID-19 caused direct physical loss of or damage to
21 the covered property under the Plaintiff’s policies, and the policies of the other Class

22 members, by denying use of and damaging the covered property, and by causing a

23 necessary suspension of operations during a period of restoration.

24        32.    The Closure Orders, including the issuance of San Diego and California
25 Closure Orders, prohibited access to Plaintiff and the other Class members’ Covered

26 Property, and the area immediately surrounding Covered Property, in response to

27 dangerous physical conditions resulting from a Covered Cause of Loss.

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 1        33.      As a result of the presence of COVID-19 and the Closure Orders,
 2 Plaintiff and the other Class members lost Business Income and incurred Extra

 3 Expense.

 4        34.      Caribe submitted a claim for loss to Topa under its policy due to the
 5 presence of COVID-19 and the Closure Orders, and Topa denied that claim.

 6                        V.    CLASS ACTION ALLEGATIONS
 7        35.      Plaintiff brings this action pursuant to Rules 23(a), 23(b)(1), 23(b)(2),
 8 23(b)(3), and 23(c)(4) of the Federal Rules of Civil Procedure, individually and on
 9 behalf of all others similarly situated.

10        36.     Plaintiff seeks to represent nationwide classes defined as:
11              • All persons and entities that: (a) had Business Income
                  coverage under a property insurance policy issued by
12                Topa; (b) suffered a suspension of business related to
13                COVID-19, at the premises covered by their Topa
                  property insurance policy; (c) made a claim under their
14                property insurance policy issued by Topa; and (d) were
15                denied Business Income coverage by Topa for the
                  suspension of business resulting from the presence or
16                threat of COVID-19 (the “Business Income Breach
17                Class”).

18              • All persons and entities that: (a) had Civil Authority
                  coverage under a property insurance policy issued by
19
                  Topa; (b) suffered loss of Business Income and/or Extra
20                Expense caused by action of a civil authority; (c) made a
21
                  claim under their property insurance policy issued by
                  Topa; and (d) were denied Civil Authority coverage by
22                Topa for the loss of Business Income and/or Extra
23
                  Expense caused by a Closure Order (the “Civil Authority
                  Breach Class”).
24
                • All persons and entities that: (a) had Extra Expense
25
                  coverage under a property insurance policy issued by
26                Topa; (b) sought to minimize the suspension of business
                  in connection with COVID-19 at the premises covered by
27
                  their Topa property insurance policy; (c) made a claim
28                under their property insurance policy issued by Topa; and

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 1
               (d) were denied Extra Expense coverage by Topa despite
               their efforts to minimize the suspension of business caused
 2             by COVID-19 (the “Extra Expense Breach Class”).
 3
            • All persons and entities that: (a) had a Sue and Labor
 4            provision under a property insurance policy issued by
              Topa; (b) sought to prevent property damage caused by
 5
              COVID-19 by suspending or reducing business
 6            operations, at the premises covered by their Topa property
              insurance policy; (c) made a claim under their property
 7
              insurance policy issued by Topa; and (d) were denied Sue
 8            and Labor coverage by Topa in connection with the
              suspension of business caused by COVID-19 (the “Sue
 9
              and Labor Breach Class”).
10
             • All persons and entities with Business Income coverage
11             under a property insurance policy issued by Topa that
12             suffered a suspension of business due to COVID-19 at the
               premises covered by the business income coverage (the
13             “Business Income Declaratory Judgment Class”).
14
             • All persons and entities with Civil Authority coverage
15
               under a property insurance policy issued by Topa that
16             suffered loss of Business Income and/or Extra Expense
               caused by a Closure Order (the “Civil Authority
17
               Declaratory Judgment Class”).
18
             • All persons and entities with Extra Expense coverage
19
               under a property insurance policy issued by Topa that
20             sought to minimize the suspension of business in
               connection with COVID-19 at the premises covered by
21
               their Topa property insurance policy (the “Extra Expense
22             Declaratory Judgment Class”).
23
             • All persons and entities with a Sue and Labor provision
24             under a property insurance policy issued by Topa that
25
               sought to prevent property damage caused by COVID-19
               by suspending or reducing business operations, at the
26             premises covered by their Topa property insurance policy
27             (the “Sue and Labor Declaratory Judgment Class”).

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 1         37.      Excluded from each defined Class is Defendant and any of its members,
 2 affiliates, parents, subsidiaries, officers, directors, employees, successors, or assigns;

 3 governmental entities; and the Court staff assigned to this case and their immediate

 4 family members. Plaintiff reserves the right to modify or amend each of the Class

 5 definitions, as appropriate, during the course of this litigation.

 6         38.      This action has been brought and may properly be maintained on behalf
 7 of each Class proposed herein under the criteria of Rule 23 of the Federal Rules of

 8 Civil Procedure.
 9         39.      Numerosity—Federal Rule of Civil Procedure 23(a)(1).                The
10 members of each defined Class are so numerous that individual joinder of all Class

11 members is impracticable. While Plaintiff is informed and believes that there are

12 thousands of members of each Class, the precise number of Class members is

13 unknown to Plaintiff but may be ascertained from Defendant’s books and records.

14 Class members may be notified of the pendency of this action by recognized, Court-

15 approved notice dissemination methods, which may include U.S. Mail, electronic

16 mail, internet postings, and/or published notice.

17         40.      Commonality      and    Predominance—Federal          Rule    of   Civil
18 Procedure 23(a)(2) and 23(b)(3). This action involves common questions of law

19 and fact, which predominate over any questions affecting only individual Class

20 members, including, without limitation:

21               a. Topa issued all-risk policies to the members of the Class in exchange
22                  for payment of premiums by the Class members;
23               b. whether the Class suffered a covered loss based on the common
24                  policies issued to members of the Class;
25               c. whether Topa wrongfully denied all claims based on COVID-19;
26               d. whether Topa’s Business Income coverage applies to a suspension of
27                  business caused by COVID-19;
28

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 1              e. whether Topa’s Civil Authority coverage applies to a loss of Business
 2                 Income caused by the orders of state governors requiring the
 3                 suspension of business as a result of COVID-19;
 4              f. whether Topa’s Extra Expense coverage applies to efforts to minimize
 5                 a loss caused by COVID-19;
 6              g. whether Topa’s Sue and Labor provision applies to require Topa to
 7                 pay for efforts to reduce damage caused by COVID-19;
 8              h. whether Topa has breached its contracts of insurance through a
 9                 blanket denial of all claims based on business interruption, income
10                 loss or closures related to COVID-19 and the related closures; and
11              i. whether Plaintiff and the Class are entitled to an award of reasonable
12                 attorney fees, interest and costs.
13        41.      Typicality—Federal Rule of Civil Procedure 23(a)(3). Plaintiff’s
14 claims are typical of the other Class members’ claims because Plaintiff and the other

15 Class members are all similarly affected by Defendant’s refusal to pay under its

16 Business Income, Civil Authority, Extra Expense, and Sue and Labor coverages.

17 Plaintiff’s claims are based upon the same legal theories as those of the other Class

18 members. Plaintiff and the other Class members sustained damages as a direct and

19 proximate result of the same wrongful practices in which Defendant engaged.

20        42.      Adequacy of Representation—Federal Rule of Civil Procedure
21 23(a)(4). Plaintiff is an adequate Class representative because their interests do not

22 conflict with the interests of the other Class members who they seek to represent,

23 Plaintiff has retained counsel competent and experienced in complex class action

24 litigation, including successfully litigating class action cases similar to this one,

25 where insurers breached contracts with insureds by failing to pay the amounts owed

26 under their policies, and Plaintiff intends to prosecute this action vigorously. The

27 interests of the above-defined Classes will be fairly and adequately protected by

28 Plaintiff and their counsel.

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 1         43.    Inconsistent or Varying Adjudications and the Risk of
 2 Impediments to Other Class Members’ Interests—Federal Rule of Civil

 3 Procedure 23(b)(1). Plaintiff seeks class-wide adjudication as to the interpretation,

 4 and resultant scope, of Defendant’s Business Income, Civil Authority, Extra

 5 Expense, and Sue and Labor coverages. The prosecution of separate actions by

 6 individual members of the Classes would create an immediate risk of inconsistent or

 7 varying adjudications that would establish incompatible standards of conduct for the

 8 Defendant. Moreover, the adjudications sought by Plaintiff could, as a practical
 9 matter, substantially impair or impede the ability of other Class members, who are

10 not parties to this action, to protect their interests.

11         44.    Declaratory and Injunctive Relief—Federal Rule of Civil
12 Procedure 23(b)(2).        Defendant acted or refused to act on grounds generally
13 applicable to Plaintiff and the other Class members, thereby making appropriate final

14 injunctive relief and declaratory relief, as described below, with respect to the Class

15 members.

16         45.    Superiority—Federal Rule of Civil Procedure 23(b)(3). A class
17 action is superior to any other available means for the fair and efficient adjudication

18 of this controversy, and no unusual difficulties are likely to be encountered in the

19 management of this class action. Individualized litigation creates a potential for

20 inconsistent or contradictory judgments and increases the delay and expense to all

21 parties and the court system. By contrast, the class action device presents far fewer

22 management difficulties, and provides the benefits of single adjudication, economy

23 of scale, and comprehensive supervision by a single court.

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 1                            VI.    CLAIMS FOR RELIEF
 2                           COUNT I
 3        BREACH OF CONTRACT -- BUSINESS INCOME COVERAGE
 4          (Claim Brought on Behalf of the Business Income Breach Class)

 5        46.    Plaintiff Caribe (“Plaintiff” for the purpose of this claim) repeats and

 6 realleges Paragraphs 1-45 as if fully set forth herein.

 7        47.    Plaintiff brings this Count individually and on behalf of the other

 8 members of the Business Income Breach Class.
 9        48.    Plaintiff’s Topa policy, as well as those of the other Business Income

10 Breach Class members, are contracts under which Topa was paid premiums in

11 exchange for its promise to pay Plaintiff and the other Business Income Breach Class

12 members’ losses for claims covered by the policy.

13        49.    In the Special Property Coverage Form, Topa agreed to pay for its

14 insureds’ actual loss of Business Income sustained due to the necessary suspension

15 of its operations during the “period of restoration.”

16        50.    A “slowdown or cessation” of business activities at the Covered

17 Property is a “suspension” under the policy, for which Topa agreed to pay for loss

18 of Business Income during the “period of restoration” that begins within 72 hours

19 after the time of direct physical loss or damage.

20        51.    “Business Income” means net income (or loss) before tax that Plaintiff

21 and the other Business Income Breach Class members would have earned “if no

22 physical loss or damage had occurred” as well as continuing normal operating

23 expenses incurred.

24        52.    COVID-19 caused direct physical loss and damage to Plaintiff and the
25 other Business Income Breach Class members’ Covered Properties, requiring

26 suspension of operations at the Covered Properties. Losses caused by COVID-19

27 thus triggered the Business Income provision of Plaintiff and the other Business

28 Income Breach Class members’ Topa policies.

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 1         53.    Plaintiff and the other Business Income Breach Class members have
 2 complied with all applicable provisions of their policies and/or those provisions have

 3 been waived by Topa or Topa is estopped from asserting them, and yet Topa has

 4 abrogated its insurance coverage obligations pursuant to the policies’ clear and

 5 unambiguous terms.

 6         54.    By denying coverage for any Business Income losses incurred by
 7 Plaintiff and the other Business Income Breach Class members in connection with

 8 the COVID-19 pandemic, Topa has breached its coverage obligations under the
 9 policies.

10         55.    As a result of Topa’s breaches of the policies, Plaintiff and the other
11 Business Income Breach Class members have sustained substantial damages for

12 which Topa is liable, in an amount to be established at trial.

13                                  COUNT II
14         BREACH OF CONTRACT – CIVIL AUTHORITY COVERAGE
            (Claim Brought on Behalf of the Civil Authority Breach Class)
15
           56.    Plaintiff Caribe (“Plaintiff” for the purpose of this claim) repeats and
16
     realleges Paragraphs 1-45 as if fully set forth herein.
17
           57.    Plaintiff brings this Count individually and on behalf of the other
18
     members of the Civil Authority Breach Class.
19
           58.    Plaintiff’s Topa insurance policy, as well as those of the other Civil
20
     Authority Breach Class members, are contracts under which Topa was paid
21
     premiums in exchange for its promise to pay Plaintiff and the other Civil Authority
22
     Breach Class members’ losses for claims covered by the policy.
23
           59.    Topa agreed to “pay for the actual loss of Business Income” that
24
     Plaintiff sustains “and any Extra Expense caused by action of civil authority that
25
     prohibits access to” the Covered Property when a Covered Cause of Loss causes
26
     damage to property near the Covered Property, the civil authority prohibits access
27
     to property immediately surrounding the damaged property, the Covered Property is
28

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 1 within the prohibited area, and the civil authority action is taken “in response to

 2 dangerous physical conditions.”

 3         60.    The Closure Orders triggered the Civil Authority provision under
 4 Plaintiff and the other members of the Civil Authority Breach Class’s Topa

 5 insurance policies.

 6         61.    Plaintiff and the other members of the Civil Authority Breach Class
 7 have complied with all applicable provisions of the policies, and/or those provisions

 8 have been waived by Topa, or Topa is estopped from asserting them, and yet Topa
 9 has abrogated its insurance coverage obligations pursuant to the Policies’ clear and

10 unambiguous terms.

11         62.    By denying coverage for any business losses incurred by Plaintiff and
12 other members of the Civil Authority Breach Class in connection with the Closure

13 Orders and the COVID-19 pandemic, Topa has breached its coverage obligations

14 under the policies.

15         63.    As a result of Topa’s breaches of the policies, Plaintiff and the other
16 members of the Civil Authority Breach Class have sustained substantial damages for

17 which Topa is liable, in an amount to be established at trial.

18                                   COUNT III
19           BREACH OF CONTRACT – EXTRA EXPENSE COVERAGE
              (Claim Brought on Behalf of the Extra Expense Breach Class)
20
           64.    Plaintiff Caribe (“Plaintiff” for the purpose of this claim) repeats and
21
     realleges Paragraphs 1-45 as if fully set forth herein.
22
           65.    Plaintiff brings this Count individually and on behalf of the other
23
     members of the Extra Expense Breach Class.
24
           66.    Plaintiff’s Topa insurance policy, as well as those of the other Extra
25
     Expense Breach Class members, are contracts under which Topa insurance was paid
26
     premiums in exchange for its promise to pay Plaintiff and the other Extra Expense
27
     Breach Class members’ losses for claims covered by the policy.
28

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 1         67.    In the Special Property Coverage Form, Topa also agreed to pay
 2 necessary Extra Expense that its insureds incur during the “period of restoration”

 3 that the insureds would not have incurred if there had been no direct physical loss or

 4 damage to the Covered Property.

 5         68.    “Extra Expense” includes expenses to avoid or minimize the
 6 suspension of business, continue operations, and to repair or replace property.

 7         69.    Due to COVID-19 and the Closure Orders, Plaintiff and the other
 8 members of the Extra Expense Breach Class incurred Extra Expense at Covered
 9 Property

10         70.    Plaintiff and the other members of the Extra Expense Breach Class have
11 complied with all applicable provisions of the policies and/or those provisions have

12 been waived by Topa or Topa is estopped from asserting them, and yet Topa has

13 abrogated its insurance coverage obligations pursuant to the policies’ clear and

14 unambiguous terms.

15         71.    By denying coverage for any business losses incurred by Plaintiff and
16 the other members of the Extra Expense Breach Class in connection with the Closure

17 Orders and the COVID-19 pandemic, Topa has breached its coverage obligations

18 under the policies.

19         72.    As a result of Topa’s breaches of the policies, Plaintiff and the other
20 members of the Extra Expense Breach Class have sustained substantial damages for

21 which Topa is liable, in an amount to be established at trial.

22                                  COUNT IV
23           BREACH OF CONTRACT – SUE AND LABOR COVERAGE
             (Claim Brought on Behalf of the Sue and Labor Breach Class)
24
           73.    Plaintiff Topa (“Plaintiff” for the purpose of this claim) repeats and
25
     realleges Paragraphs 1-45 as if fully set forth herein.
26
           74.    Plaintiff brings this Count individually and on behalf of the other
27
     members of the Sue and Labor Breach Class.
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 1        75.    Plaintiff’s Topa policy, as well as those of the other Sue and Labor
 2 Breach Class members, are contracts under which Topa was paid premiums in

 3 exchange for its promise to pay Plaintiff and the other Sue and Labor Breach Class

 4 members’ losses for claims covered by the policy.

 5        76.    In the Special Property Coverage Form, Topa agreed to give due
 6 consideration in settlement of a claim to expenses incurred in taking all reasonable

 7 steps to protect Covered Property from further damage.

 8        77.    In complying with the Closure Orders and otherwise suspending or
 9 limiting operations, Plaintiff and other members of the Sue and Labor Breach Class

10 incurred expenses in connection with reasonable steps to protect Covered Property.

11        78.    Plaintiff and the other members of the Sue and Labor Breach Class have
12 complied with all applicable provisions of the policy and/or those provisions have

13 been waived by Topa, or Topa is estopped from asserting them, and yet Topa has

14 abrogated its insurance coverage obligations pursuant to the policies’ clear and

15 unambiguous terms.

16        79.    By denying coverage for any Sue and Labor expenses incurred by
17 Plaintiff and the other members of the Sue and Labor Breach Class in connection

18 with the Closure Orders and the COVID-19 pandemic, Topa has breached its

19 coverage obligations under the policies.

20        80.    As a result of Topa’s breaches of the policies, Plaintiff and the other
21 members of the Sue and Labor Breach Class have sustained substantial damages for

22 which Topa is liable, in an amount to be established at trial.

23                                   COUNT V
24      DECLARATORY JUDGMENT – BUSINESS INCOME COVERAGE
       (Claim Brought on Behalf of the Business Income Declaratory Judgment
25                                     Class)
26        81.    Plaintiff Caribe (“Plaintiff” for the purpose of this claim) repeats and
27 realleges Paragraphs 1-45 as if fully set forth herein.

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 1          82.   Plaintiff brings this Count individually and on behalf of the other
 2 members of the Business Income Declaratory Judgment Class.

 3          83.   Plaintiff’s Topa policy, as well as those of the other Business Income
 4 Declaratory Judgment Class members, are contracts under which Topa was paid

 5 premiums in exchange for its promise to pay Plaintiff and the other Business Income

 6 Declaratory Judgment Class members’ losses for claims covered by the policy.

 7          84.   Plaintiff and the other Business Income Declaratory Judgment Class
 8 members have complied with all applicable provisions of the policies and/or those
 9 provisions have been waived by Topa, or Topa is estopped from asserting them, and

10 yet Topa has abrogated its insurance coverage obligations pursuant to the policies’

11 clear and unambiguous terms and has wrongfully and illegally refused to provide

12 coverage to which Plaintiff and the other Business Income Declaratory Judgment

13 Class members are entitled.

14          85.   Topa has denied claims related to COVID-19 on a uniform and class
15 wide basis, without individual bases or investigations, such that the Court can render

16 declaratory judgment irrespective of whether members of the Class have filed a

17 claim.

18          86.   An actual case or controversy exists regarding Plaintiff and the other
19 Business Income Declaratory Judgment Class members’ rights and Topa’s

20 obligations under the policies to reimburse Plaintiff for the full amount of Business

21 Income losses incurred by Plaintiff and the other Business Income Declaratory

22 Judgment Class members in connection with suspension of their businesses

23 stemming from the COVID-19 pandemic.

24          87.   Pursuant to 28 U.S.C. § 2201, Plaintiff and the other Business Income
25 Declaratory Judgment Class members seek a declaratory judgment from this Court

26 declaring the following:

27           i.   Plaintiff and the other Business Income Declaratory Judgment Class
28                members’ Business Income losses incurred in connection with the

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 1                   Closure Orders and the necessary interruption of their businesses
 2                   stemming from the COVID-19 pandemic are insured losses under their
 3                   policies; and
 4             ii.   Topa is obligated to pay Plaintiff and the other Business Income
 5                   Declaratory Judgment Class members for the full amount of the
 6                   Business Income losses incurred and to be incurred in connection with
 7                   the Closure Orders during the period of restoration and the necessary
 8                   interruption of their businesses stemming from the COVID-19
 9                   pandemic.
10                                 COUNT VI
11    DECLARATORY JUDGMENT – CIVIL AUTHORITY COVERAGE
   (Claim Brought on Behalf of the Civil Authority Declaratory Judgment Class)
12
           88.       Plaintiff Caribe (“Plaintiff” for the purpose of this claim) repeats and
13
     realleges Paragraphs 1-45 as if fully set forth herein.
14
           89.       Plaintiff brings this Count individually and on behalf of the other
15
     members of the Civil Authority Declaratory Judgment Class.
16
           90.       Plaintiff’s Topa insurance policy, as well as those of the other Civil
17
     Authority Declaratory Judgment Class members, are contracts under which Topa
18
     was paid premiums in exchange for its promise to pay Plaintiff and the other Civil
19
     Authority Declaratory Judgment Class members’ losses for claims covered by the
20
     policy.
21
           91.       Plaintiff and the other Civil Authority Declaratory Judgment Class
22
     members have complied with all applicable provisions of the policies and/or those
23
     provisions have been waived by Topa, or Topa is estopped from asserting them, and
24
     yet Topa has abrogated its insurance coverage obligations pursuant to the policies’
25
     clear and unambiguous terms and has wrongfully and illegally refused to provide
26
     coverage to which Plaintiff and the other Class members are entitled.
27

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 1          92.    Topa has denied claims related to COVID-19 on a uniform and class
 2 wide basis, without individual bases or investigations, such that the Court can render

 3 declaratory judgment irrespective of whether members of the Class have filed a

 4 claim.

 5          93.    An actual case or controversy exists regarding Plaintiff and the other
 6 Civil Authority Declaratory Judgment Class members’ rights and Topa’s obligations

 7 under the policies to reimburse Plaintiff and the other Civil Authority Declaratory

 8 Judgment Class members for the full amount of covered Civil Authority losses
 9 incurred by Plaintiff and the other Civil Authority Declaratory Judgment Class

10 members in connection with Closure Orders and the necessary interruption of their

11 businesses stemming from the COVID-19 pandemic.

12          94.    Pursuant to 28 U.S.C. § 2201, Plaintiff and the other Civil Authority
13 Declaratory Judgment Class members seek a declaratory judgment from this

14 Court declaring the following:

15            i.   Plaintiff and the other Civil Authority Declaratory Judgment Class
16                 members’ Civil Authority losses incurred in connection with the
17                 Closure Orders and the necessary interruption of their businesses
18                 stemming from the COVID-19 pandemic are insured losses under their
19                 policies; and
20           ii.   Topa is obligated to pay Plaintiff and the other Civil Authority
21                 Declaratory Judgment Class members the full amount of the Civil
22                 Authority losses incurred and to be incurred in connection with the
23                 covered losses related to the Closure Orders and the necessary
24                 interruption of their businesses stemming from the COVID-19
25                 pandemic.
26

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 1
                                    COUNT VII
         DECLARATORY JUDGMENT – EXTRA EXPENSE COVERAGE
 2   (Claim Brought on Behalf of the Extra Expense Declaratory Judgment Class)
 3          95.   Plaintiff Caribe (“Plaintiff” for the purpose of this claim) repeats and
 4 realleges Paragraphs 1-45 as if fully set forth herein.

 5          96.   Plaintiff brings this Count individually and on behalf of the other
 6 members of the Extra Expense Declaratory Judgment Class.

 7          97.   Plaintiff’s Topa insurance policy, as well as those of the other Extra
 8 Expense Declaratory Judgment Class members, are contracts under which Topa was
 9 paid premiums in exchange for its promise to pay Plaintiff and the other Extra

10 Expense Declaratory Judgment Class members’ losses for claims covered by the

11 policy.

12          98.   Plaintiff and the other Extra Expense Declaratory Judgment Class
13 members have complied with all applicable provisions of the policies and/or those

14 provisions have been waived by Topa, or Topa is estopped from asserting them, and

15 yet Topa has abrogated its insurance coverage obligations pursuant to the policies

16 clear and unambiguous terms and has wrongfully and illegally refused to provide

17 coverage to which Plaintiff and the other Class members are entitled.

18          99.   Topa has denied claims related to COVID-19 on a uniform and class
19 wide basis, without individual bases or investigations, such that the Court can render

20 declaratory judgment irrespective of whether members of the Class have filed a

21 claim.

22          100. An actual case or controversy exists regarding Plaintiff and the other
23 Extra Expense Declaratory Judgment Class members’ rights and Topa’s obligations

24 under the policies to reimburse Plaintiff and the other Extra Expense Declaratory

25 Judgment Class members for the full amount of Extra Expense losses incurred by

26 Plaintiff in connection with Closure Orders and the necessary interruption of their

27 businesses stemming from the COVID-19 pandemic.

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 1         101. Pursuant to 28 U.S.C. § 2201, Plaintiff and the other Extra Expense
 2 Declaratory Judgment Class members seek a declaratory judgment from this Court

 3 declaring the following:

 4            i.   Plaintiff and the other Extra Expense Declaratory Judgment Class
 5                 members’ Extra Expense losses incurred in connection with the Closure
 6                 Orders and the necessary interruption of their businesses stemming
 7                 from the COVID-19 pandemic are insured losses under their policies;
 8                 and
 9           ii.   Topa is obligated to pay Plaintiff and the other Extra Expense
10                 Declaratory Judgment Class members for the full amount of the Extra
11                 Expense losses incurred and to be incurred in connection with the
12                 covered losses related to the Closure Orders during the period of
13                 restoration and the necessary interruption of their businesses stemming
14                 from the COVID-19 pandemic.
15                                COUNT VIII
16      DECLARATORY JUDGMENT – SUE AND LABOR COVERAGE
   (Claim Brought on Behalf of the Sue and Labor Declaratory Judgment Class)
17
           102. Plaintiff Caribe (“Plaintiff” for the purpose of this claim) repeats and
18
     realleges Paragraphs 1-45 as if fully set forth herein.
19
           103. Plaintiff brings this Count individually and on behalf of the other
20
     members of the Sue and Labor Declaratory Judgment Class.
21
           104. Plaintiff’s Topa insurance policy, as well as those of the other Sue and
22
     Labor Declaratory Judgment Class members, are contracts under which Topa was
23
     paid premiums in exchange for its promise to pay Plaintiff and the other Sue and
24
     Labor Declaratory Judgment Class members’ reasonably incurred expenses to
25
     protect Covered Property.
26
           105. Plaintiff and the other Sue and Labor Declaratory Judgment Class
27
     members have complied with all applicable provisions of the policies and/or those
28

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 1 provisions have been waived by Topa, or Topa is estopped from asserting them, and

 2 yet Topa has abrogated its insurance coverage obligations pursuant to the policies’

 3 clear and unambiguous terms and has wrongfully and illegally refused to provide

 4 coverage to which Plaintiff is entitled.

 5          106. Topa has denied claims related to COVID-19 on a uniform and class
 6 wide basis, without individual bases or investigations, such that the Court can render

 7 declaratory judgment irrespective of whether members of the Class have filed a

 8 claim.
 9          107. An actual case or controversy exists regarding Plaintiff and the other
10 Sue and Labor Declaratory Judgment Class members’ rights and Topa’s obligations

11 under the policies to reimburse Plaintiff and the other Sue and Labor Declaratory

12 Judgment Class members for the full amount Plaintiff and the other members of the

13 Sue and Labor Declaratory Judgment Class reasonably incurred to protect Covered

14 Property from further damage by COVID-19.

15          108. Pursuant to 28 U.S.C. § 2201, Plaintiff and the other Sue and Labor
16 Declaratory Judgment Class members seek a declaratory judgment from this Court

17 declaring the following:

18            i.   Plaintiff and the other Sue and Labor Declaratory Judgment Class
19                 members reasonably incurred expenses to protect Covered Property
20                 from further damage by COVID-19 are insured losses under their
21                 policies; and
22           ii.   Topa is obligated to pay Plaintiff and the other Sue and Labor
23                 Declaratory Judgment Class members for the full amount of the
24                 expenses they reasonably incurred to protect Covered Property from
25                 further damage by COVID-19.
26

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 1                           VII. REQUEST FOR RELIEF
 2        WHEREFORE, Plaintiff, individually and on behalf of the other Class
 3 members, respectfully requests that the Court enter judgment in their favor and

 4 against Defendant as follows:

 5        a.     Entering an order certifying the proposed nationwide Classes, as
 6 requested herein, designating Plaintiff as Class representative, and appointing

 7 Plaintiff’s undersigned attorneys as Counsel for the Classes;

 8        b.     Entering judgment on Counts I-IV in favor of Plaintiff Caribe and the
 9 members of the Business Income Breach Class, the Civil Authority Breach Class,

10 the Extra Expense Breach Class, and the Sue and Labor Breach Class; and awarding

11 damages for breach of contract in an amount to be determined at trial;

12        c.     Entering declaratory judgments on Counts V-VIII in favor of Plaintiff
13 and the members of the Business Income Declaratory Judgment Class, the Civil

14 Authority Declaratory Judgment Class, the Extra Expense Declaratory Judgment

15 Class, and the Sue and Labor Declaratory Judgment Class as follows;

16              i.   Business Income, Civil Authority, Extra Expense, and Sue and
17                   Labor losses incurred in connection with the Closure Orders and the
18                   necessary interruption of their businesses stemming from the
19                   COVID-19 pandemic are insured losses under their policies; and
20             ii.   Topa is obligated to pay for the full amount of the Business Income,
21                   Civil Authority, Extra Expense, and Sue and Labor losses incurred
22                   and to be incurred related to COVID-19, the Closure Orders and the
23                   necessary interruption of their businesses stemming from the
24                   COVID-19 pandemic;
25        d.     Ordering Defendant to pay both pre- and post-judgment interest on any
26 amounts awarded;

27        e.     Ordering Defendant to pay attorneys’ fees and costs of suit; and
28        f.     Ordering such other and further relief as may be just and proper.

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 1                                  VIII. JURY DEMAND
 2         Plaintiff hereby demands a trial by jury on all claims so triable.
 3
                          IX.   CERTIFICATION AND CLOSING
 4
           Under Federal Rule of Civil Procedure 11, by signing below, I certify to the
 5
     best of my knowledge, information, and belief that this complaint: (1) is not being
 6
     presented for an improper purpose, such as to harass, cause unnecessary delay, or
 7
     needlessly increase the cost of litigation; (2) is supported by existing law or by a
 8
     nonfrivolous argument for extending, modifying, or reversing existing law; (3) the
 9
     factual contentions have evidentiary support or, if specifically so identified, will
10
     likely have evidentiary support after a reasonable opportunity for further
11
     investigation or discovery; and (4) the complaint otherwise complies with the
12
     requirements of Rule 11.
13

14

15
     Dated: April 17, 2020                  Respectfully submitted,

16                                          /s/ C. Moze Cowper
17                                          C. Moze Cowper (Bar No. 326614)
                                            Noel E. Garcia (Bar No. 326831)
18                                          COWPER LAW PC
19                                          10880 Wilshire Boulevard, Suite 1840
                                            Los Angeles, California 90024
20                                          Telephone: 877-529-3707
21                                          mcowper@cowperlaw.com
                                            ngarcia@cowperlaw.com
22

23                                          Adam J. Levitt*
                                            Amy E. Keller*
24                                          Daniel R. Ferri*
25                                          Mark Hamill*
                                            Laura E. Reasons*
26                                          DICELLO LEVITT GUTZLER LLC
27                                          Ten North Dearborn Street, Sixth Floor
                                            Chicago, Illinois 60602
28                                          Telephone: 312-214-7900
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 1
                                        alevitt@dicellolevitt.com
                                        akeller@dicellolevitt.com
 2                                      dferri@dicellolevitt.com
 3
                                        mhamill@dicellolevitt.com
                                        lreasons@dicellolevitt.com
 4

 5                                      Mark A. DiCello*
                                        Kenneth P. Abbarno*
 6                                      Mark Abramowitz*
 7                                      DICELLO LEVITT GUTZLER LLC
                                        7556 Mentor Avenue
 8                                      Mentor, Ohio 44060
 9                                      Telephone: 440-953-8888
                                        madicello@dicellolevitt.com
10                                      kabbarno@dicellolevitt.com
11                                      mabramowitz@dicellolevitt.com

12                                      Mark Lanier*
13                                      Alex Brown*
                                        Skip McBride*
14                                      THE LANIER LAW FIRM PC
15                                      10940 West Sam Houston Parkway North
                                        Suite 100
16                                      Houston, Texas 77064
17                                      Telephone: 713-659-5200
                                        WML@lanierlawfirm.com
18                                      alex.brown@lanierlawfirm.com
19                                      skip.mcbride@lanierlawfirm.com
20                                      Timothy W. Burns*
21                                      Jeff J. Bowen*
                                        Jesse J. Bair*
22                                      Freya K. Bowen*
23                                      BURNS BOWEN BAIR LLP
                                        One South Pinckney Street, Suite 930
24                                      Madison, Wisconsin 53703
25                                      Telephone: 608-286-2302
                                        tburns@bbblawllp.com
26                                      jbowen@bbblawllp.com
27                                      jbair@bbblawllp.com
                                        fbowen@bbblawllp.com
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 1
                                         Douglas Daniels*
 2                                       DANIELS & TREDENNICK
 3
                                         6363 Woodway, Suite 700
                                         Houston, Texas 77057
 4                                       Telephone: 713-917-0024
 5                                       douglas.daniels@dtlawyers.com

 6                                       Counsel for Plaintiff
 7                                       and the Proposed Classes

 8
 9 *Applications for admission pro hac vice to be filed

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